Case 1:09-Cv-00597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 1 of 19 Page|D# 592

EXHIBIT E

Case 1:O9-Cv-00597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 2 of 19 Page|D# 593

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN l)ISTRlCT ()F VIRGINlA
Alexandria Division

IN'I`ERSECTI()NS INC.
and
NE'I` ENFORCERS, INC.,

Plaintiffs and Counter»l)efendants,

v. Casc No. l:09-cv-00597-LMB~
'I`CB
JOSEPH C. LO()MIS,

l)efendant and Counter-Plaintiff

and
JI+INNI M. LO()MIS,

l)efcndant.

 

 

OBJECTIONS OF JOSEPH C. L()OMIS TO INTERSEC'I`IONS INC.’S
FIRST REOUEST FOR 'I`HE PRODUCTION OF I)OCUMENTS

Dei`endant and Counterolaimant Joscph C. Loomis (""Loomis"), hy his undersigned
eounsel` makes the following objections to Plaintif`f and Counterclaim Defendant Interseetions,
Inc.’s ("Interseetions") l"irst Request For Production ofDocuments.

GENERAL OBJECTIONS

l. Loomis objects to the Instruotions and Definitions Set forth in Intel'sections’ First
Request for I’roduetion to the extent they seek to impose duties upon l,oomis in excess of those
required by lied R. CiV. P. 26 and 34.

2. loomis objects to each request to the extent that it attempts to impose a duty on

him to respond With information not in his possession, eustody` or control.

35.:\)?53 'l NJG 2 \'L;; RE[’Li

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 3 of 19 Page|D# 594

3. Loomis objects to the requests to the extent that they seek information protected
by the attorney-client privilege, attorney work product doctrine, or any other applicable
privilege The inadvertent disclosure of any privileged matter shall also not constitute a waiver
of any privilege

4. Loomis objects to each request insofar as it contains the phrases “you" and/or
“your” which, as defined, are overbroad, vague, and ambiguous to the extent that these phrases
include “all persons acting or purporting to act” on the behalf of Loomis.

5. l,oomis objects to each request insofar as it contains the term “documcnt” which
as defined, is overbroad and unduly burdensome to the extent that this term “includes all relevant
files that are still on storage media, but that are erased but 1'ecoverable.“

6. Loomis objects to each request to that extent it requires the production of
documents that contain business or personal information of a eonfidential, commercially
sensitive, and/or proprietary nature other than in accordance with the terms of the l’rotective
Order entered in this Aetion.

7. The fact that I,oomis is Willing to respond to any particular request does not
constitute an admission or acknowledgement that the request is proper, that the information
and/or documents it seeks is relevant and/or admissible, that the request is within the proper
bounds of discovery, or that other requests will be treated in a similar fashion.

8. Any responses to these requests shall reflect the present state of Loomis’s
knowledge regarding the information and/or documents that lntersections has requested as of the
dates such responses are served on l.oomis. Loomis expressly reserves the right to revise.
correct, supplement, or clarify at a later date any response to any discovery request based on

subsequently discovered information and/or documents

l\)

35(!'175.3

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 4 of 19 Page|D# 595

9. Loomis does not admit, adopt, or acquiesce in any factual or legal contention,
assertion, or characterization that is contained in these requests

l(). Loomis offers to confer with Intersections in good faith in connection with the
foregoing General Objections and Specifrc Objections.

SPECIF`IC OBJECTIONS

Regucst No. l:

All documents that discuss, describe, refer to, relate to, or reflect any agreements
understandings or arrangements whether oral or written, between you and Intersections.

Objections to Request No. 1:

lsoomis objects to this request as vague, unduly burdensomc, and overly broad to the
extent that it seeks all documents referring or relating to "any agreements1 understandings, or
arrangements" between lsoomis and lntersections inasmuch as that the request could be read as
calling for documents relating to or referencing any interaction between Loomis and employees
agcnts, or attorneys of lntersections, or all person acting on lntersections’ behalf, that could be
characterized as an agreement, understanding, or arrangement

Subject to this Specit`rc Objection and General (`)bjections, incorporated herein by
reference, Loomis will conduct a reasonably diligent search for ali documents relating or
referring to agreements1 understandings or arrangements between Loomis and lntersections_
Reguest No. 2:

2. All documents that discuss, describe, refer to, relate to, or reflect any agreements
understandings or arrangementsq whether oral or written, between you and NEI.

(}biections to Request No. 2:

lroomis objects to this request as vague. unduly burdensomc, and overly broad to the

extent that it seeks all documents referring or relating to "`any agreements understandings or

zsn‘)';s t 3

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 5 of 19 Page|D# 596

arrangements” between Loomis and NEI inasmuch as that the request could be read as calling for
documents relating to or referencing any interaction between I,oomis and employees, agents, or
attorneys of NEI, or all person acting on NEI’s behalf1 that could be characterized as an
agreement, understanding or arrangement

Subjeet to this Specii`rc Objection and General Objeetions, incorporated herein by
reference, lsoomis will conduct a reasonably diligent search for all documents relating or
referring to agreements understandings3 or arrangements between Loomis and NI£I.
chuest No. 3:

All documents, including any draits, that discuss, describe, refer to, relate to, or reflect
lntersections’ purchase of your stock in NEI.

Obiections to chuest No. 3:

Subject to the Gencral Objections. incorporated herein by reference. I.,oomis will produce
responsive documents to the extent they exist and are in its possession, custody or control.
Reguest No. 4:

All documents including any drafts, that discuss, describe, refer to, relate to, or reflect
any documents1 presentations, and other materials that were provided to lntersections in
connection with Intersections’ purchase of your stock in NEI, whether during negotiations or
thereafter.

Obiections to Request No. 4:

Subject to the General Objections, incorporated herein by reference, Loomis will produce

responsive documents to the extent they exist and are in its possession, custody or control.

run is t 4

Case 1:09-cv-OO597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 6 of 19 Page|D# 597

Reguest No. S:

All documents, including any drafts, that discuss, describe, refer to_, relate to, or reflect
Schedule 223 to the Stock Purchase Agreement.

Objections to Re¢_giest No. 5:

Sub_iect to the General Objections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possession. custody or control.
Reguest No. 6:

All documents that discuss, describe, refer to, relate toq or reflect any communications
between you or any current or former employee of` Nl;`l, on the one hand. and any of` the
companies listed in Schedule 223 to the Stock Purchase Agrcement, on the other liand.

Obiections to Request No. 6:

Subject to the General Objections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possession, custody or control.
Reguest No. 7:

All documents that discuss, describe, refer to. relate to, or reflect any communications
between you and anyone else concerning any ol` the companies listed in Schedule 2.23 to the
Stock Purchase Agreement.

()biections to Request No. 7:

Subject to the General Objections, incorporated herein by referencc, Loomis will produce
responsive documents to the extent they exist and are in its possession, custody or control.

Reg uest No. 8:
All documents that discuss, describe refer lo, relate to, or reflect any communications

between you and any current_ forrner" or prospective customer or client of NEI.

3501)?5`3 5

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 7 of 19 Page|D# 598

Obiections to Request No. 8:

Loomis objects to this request as vague, unduly burdensome, and overly broad to the
extent that it does not define what constitutes a communication with a “prospective customer or
client ofNEl.”

Subject to this Specific Objection and General Objections, incorporated herein by
reference, Loomis will conduct a reasonably diligent search for all documents that discuss,
describe, refer to, relate to. or reflect any communications between Loomis and any current or
former customer or client ot` NEI and communications with any entity or individual with whom
Loomis is aware that NEI was seeking to establish a customer relationship.

Reguest No. 9:

All documents, including any drafts, that discuss, describe, refer to, relate to, or reflect
the financial statements that were provided to lntersections during negotiations or at any other
time in connection with its purchase of your stock in NEl, including, but not limited to` the
financial Statcments included aS Schedule 2.7 to the Stock Purchase Agreement.

Obiections to Request No. 9:

Sub_iect to the General Objections, incorporated herein by reference, lioornis will produce
responsive documents to the extent they exist and are in its possession, custody or control.
Reguest No. 10:

All documents that discuss, describe, refer to, relate to, or reflect any communications
between you and anyone else concerning the financial statements provided to lntersections in
connection with its purchase of your stock in NEl, including, but not limited to, the financial

statements included as Schedule 2.7 to the Stock Purchase Agreement.

.'»51)‘_)?55i 6

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 8 of 19 Page|D# 599

Obiections to Request No. 10:

Subject to the General Objections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possessiori, custody or control.
Reguest No. ll:

All documents that discuss, describe, refer to,` relate to, or reflect the formation and
incorporation of Loomis Enterprises, [nc._, including, but not limited to, articles of incorporation,
bylaws, minutes. registration certificates, and lists of officers and directors

Objections to Request No. 11:

Subject to the General Objections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possession, custody or controll
Reguest No. 12:

All documents that discuss` describe, refer to, relate to, or reflect any communications
between you and any of NEI’s current or fenner employees during or after such employee"s
employment with NEI.

Obiections to Request No. 12:

lioomis objects to this request as vague, unduly burdensomej and overly broad to the
extent that it requests documents relating to any communication between Loomis and current or
former employees of NEl, regardless of the subject of the communication

Subject to this Specitic Objection and General Objections, incorporated herein by
reference, lioomis will conduct a reasonably diligent search for all documents that discuss,
describe, refer to. relate to, or reflect any communications between Loomis and any current or

fortner employee of NF.I that arc business related and not of`a purely personal nature.

isrr)rs.s 7

Case 1:O9-cv-OO597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 9 of 19 Page|D# 600

Reguest No. 13:

All documents that discuss, describe, refer to, relate to, or reflect any employment,
consulting, subcontractor, independent contractor, or similar relationship -~ whether a formal
relationship or informal relationship, paid or unpaid, --¢ between Loomis Enterprises, Inc. and
any current or former employee of NEI.

Obiections to Request No. 13:

Subject to the General Objections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possession custody or control.
Reguest No. 14:

All documents that discuss, describe, refer to, relate to, or reflect any work performed by
you on behalf oi`NEI from November 30, 2007 to the present.

()biections to Requcst No. 14:

Subject to the General ()bjections, incorporated herein by reference, Loomis will produce
responsive documents to the extent they exist and are in its possession custody or control.
Reguest No. 152

All documents that discuss, dcscribe, refer to, relate to, or reflect any work performed by
you on behalf of any company, venture, partnership, etc. other than NEI, including. but not
limited to, Loomis Enterprises, LLC and American Medical Services. LLC, from November 30,
2007 to the present

()bjections to Req uest No. 15:

Subject to the General Objections, incorporated herein by reference, Loomis will produce

responsive documents to the extent they exist and are in its possession custody or control.

3511‘)?5`.‘» 8

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 10 of 19 Page|D# 601

Reguest No. 16:

All documents that discuss, describe, refer to, relate to, or reflect any communications
between you and Jenni M. Loomis concerning Intersections’ purchase of your stock in NEI.

Obiections to Request No. 16:

Subject to the General Objections, incorporated herein by reference, L.oomis will produce
responsive documents to the extent they exist and are in its possession, custody or control.
Reguest No. 17:

All documents that discuss, describe, refer to, relate to, or reflect any communications
between you and Jenni M. Loomis concentng any financial statements of Nlil provided to
intersections

Obiections to Request No. 17:

Subject to the General Objections1 incorporated herein by reference, l.,oomis will
produce responsive documents to the extent they exist and arc in its possession, custody or
control
Re_quest No. 18:

18. All tiles stored on any computer, computer hard drive, or other storage media
(e.g., disks, CD’s, etc.) that you obtained, directly or indirectly, from NEI or any of its current or
former employees.

Obiections to Request No. 182

Loornis objects to this request as vague, unduly burdensome, and overly broad to the
extent that it requests all documents that l,oomis obtained directly or indirectly from NEl or any

of its current or former employees1 regardless of the subject matter of` the document

351:')75 t 9

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 11 of 19 Page|D# 602

Subject to this Specific Objection and General Objections, incorporated herein by
reference lioornis will conduct a reasonably diligent search for all documents that he obtained

directly or indirectly from NEI, or any of its current or former employees, that are not of a purely

personal nature.
Reguest No. 19:

A copy of the hard drive of each computer owned, leased or used by you during and/or
after your employment with NEI.

Ohiections to Request No. 19:

Loomis objects to this request as unduly burdensome, overly broad, and not reasonably
calculated to lead to the discovery of admissible evidence because it requires Loomis to incur the
significant cost of imaging computers that contain considerable data that has no connection with
lntersections, NEI1 or the allegations in the Complaint and would require the production of
personal information that would not lead to the discovery of admissible evidence Specit`ically,
the request asks Loomis to provide copies of hard drives of computers that he owned during his
employment with NEI that he used for personal as well as business purposes or solely f`or
personal purposes T he request also asks Loomis to provide copies ot` hard drives of computers
that Loomis may not have even been in possession of during the period of his employment with
NEI.

Moreover, lioomis objects to this request because it is duplicative of other requests ln
particular. all relevant data and data reasonably calculated to lead to the discovery of` admissible
evidence contained on computers owned by Loomis during or after his employment with Nl-ll

will be produced in response to Req nest No. 20.

'rsw)";s,t lU

Case 1:09-cV-00597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 12 of 19 Page|D# 603

ln addition, Loomis objects to this request because the hard drives on the two computers
that Loomis retains possession of that he owned during the period of his employment with NEI
were damaged. rl`he hard drives on the computer tower that had been located at NEI during
Loomis’ employment with NEI were damaged and have been replaced ln addition7 the hard
drive in lioomis’ personal laptop was damaged and was rei`ormatted in january 2009.

Reguest No. 20:

A copy of all data contained on all personal computers, laptops, hard drives,
Blackberries or other personal data assistant devices, digital music players, cell phones, “flash"
or "zip” drives, and similar devices maintained or controlled by you during and/or after your
employment with Nli].

Obiections to Requcst No. 20:

Loomis objects to this request as unduly burdensome, overly broad, and not reasonably
calculated to lead to the discovery of admissible evidence to the extent that it requests the
production ol`data and documents regardless of their subject matter and connection to issues
relevant to this Action.

Subject to this Specif`ic Objection and General Objections, incorporated herein by
reference, Loomis Will conduct a reasonably diligent search for all data contained on personal
computers and other electronic devices or mediums that he controlled during and after his
employment with NEI that is business related and not purely personal in nature.

Regucst No. 2]:
All documents evidencing or otherwise relating to any diaries, journals, calendars,

calendar entries. appointment books, or phone logs, including electronic versions ol" the same,

ssn-ms `l `l

Case 1:O9-cV-00597-LI\/|B-TCB Document 38-6 Filed 10/23/09 Page 13 of 19 Page|D# 604

that were created or maintained by you from January l, 2007 to the present, including, but not
limited to, the diaries, journals1 calendars, calendar entries, and phone logs themselves

Obiections to Request No. 21:

Loomis objects to this request as unduly burdensome, overly broad, and not reasonably
calculated to lead to the discovery of admissible evidence to the extent that it requests the
production ol`documents falling regardless of their subject matter and connection to issues
relevant to this Action.

Subject to this Specific Objection and General Objections, incorporated herein by
reference, lioornis will conduct a reasonably diligent Search for all documents relating to any
diaries, journals, calendars, calendar entries, appointment books, or phone logs in Loomis`
possession that are business related and not purely personal in nature.

Reguest No. 22:

All documents that discuss, describe, refer to, relate to, or reflect any actions taken by
you or on your behalf on or after October 20, 2008 concerning or relating to NEl’s computer
systems, including, but not limited to, NEI’s computer server and any of NEl’s computer
towers

()biections to Request No. 22:

Subject to the General Objections, incorporated herein by reference, lioomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control
Reguest No. 23:

All documents that discuss. describe, refer to_, relate to, or rct`lect your allegation that

[ntcrsections interfered with NEl’s ability to conduct businessl

351)<)?5,‘» l 9

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 14 of 19 Page|D# 605

Obiections to Request No. 23:

Subject to the General Objections, incorporated herein by reference, Loomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control
Reguest No. 24:

All documents that discuss, describe refer to, relate to, or rellect your allegation that
lntersections interfered with your ability to serve as Chief`lixecutive Ol`liccr ol`NEl.

Obiections to Request No. 24:

Subject to the General Objections, incorporated herein by reference, lroomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control
Reguest No. 25:

All documents that discuss, dcscribe, refer to__ relate to1 or reflect any alleged admission
against interest by intersections or NEl as to this Action.

Obiections to Request No. 25:

Subject to the General Objections, incorporated herein by reference, Loomis will
produce responsive documents to the extent they exist and are in its possession_, custody or
control
Reguest No. 26:

All documents relied upon or identified in your answers to lntersections` first set of

interrogatories

,isu')'.'s.r 13

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 15 of 19 Page|D# 606

Obicctions to Request No. 26:

Subject to the General Objections, incorporated herein by reference, lioomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control.
chuest No. 27:

To the extent not already covered above, all documents that support any position that you
have taken or intend to take in this Action.

()l)iections to Reguest No. 27:

l,oomis specifically objects to this request on the grounds that it is duplicative of` other
requests and unduly vague. Subject to this Specific Objection, thc other Speciflc Objections` and
the General ()bjections, incorporated herein by reference lioomis will produce responsive
documents to the extent they exist and are in his possession, custody or control.
chuest No. 28:

To the extent not already covered above, all documents that discuss, dcscribe. refer to.
relate to, or reflect the allegations set f`orth in the complaint or your defenses thereto.

Obiections to Request No. 28: l

Isoomis objects to this request on the grounds that it is duplicative of other requests and
unduly vague. Subject to this Specif`ic Objection, the other Specif`lc Objections, and the General
Objections, incorporated herein by reference, loomis will produce responsive documents to the
extent they exist and arc in his possession, custody or control.

Reguest No. 29:
'l`o the extent not already covered aboveq all documents that discuss, describe1 rcf`cr to,

relate to, or reflect the allegations set forth in the counterclaim

ssn¢)is.s 14

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 16 of 19 Page|D# 607

Objections to Request No. 29:

Loomis objects to this request on the grounds that it is duplicative of other requests and
unduly vague Subject to this Specific Objection, the other Specific Objections, and the General
Objections, incorporated herein by reference, Loomis will produce responsive documents to the
extent they exist and are in his possession, custody or control.

Reguest No. 30:

All documents that discuss describe, refer to, relate to, or reflect the filing and/or
payment of`State and federal taxes f`or NF.I from 2003 to the present

Obicctions to Request No. 30:

Subject to the General Objections, incorporated herein by ref`erence, Loomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control
Reguest No. 31:

All documents that discuss, describe, ref`er to, relate to, or reflect your allegation in the
counterclaim that you arc a citizen and resident of Florida.

()biections to Request No. 311

Loomis objects to this request as unduly burdensome and overly broad to the extent that
it requests all documents showing that he is a resident and citizen of Florida.

Subjcct to this Specific Objection and General Objections. incorporated herein by
reference, Loomis will conduct a reasonably diligent search for documents sufficient to show

that he is a resident and citizen of I~`lorida.

assist f 5

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 17 of 19 Page|D# 608

Reguest No. 32:

All documents that discuss, describe, refer to, relate to, or reflect your allegation in the
counterclaim that Intersections, after the purchase of NEI, failed to fulfill its representations and
responsibilities in the duties associated with the purchase

()biections to Request No. 32:

Subjcct to the General Objections, incorporated herein by reference, Loomis will
produce responsive documents to the extent they exist and are in its possession, custody or
control.

Reguest No. 33:

All documents provided to or received from any expert you intend to call as a witness in
the trial of this action, including all reports generated by any such expert. documents exchanged
with any such expert1 and a copy of the cxpert’s curriculum vitae.

()biections to Requcst No. 331

l..oomis objects to this request as premature in light ol`: (a) the early stage of` discovery,
and (b) the Scheduling Order issued by the Court` the parties’ Joint Rule 26(f) Discovery Plan`
F`ed. R. Civ. I’. 26(a)(2), and l,ocal Rule 26(D)(2) which govern the timing of disclosures with
respect to expert witnesses Plaintiff also objects because he has not yet retained an cxpcrt, and
does not plan to do so prior to the due date for Loomis’s responses to lntersections’ document
requests Subject to this Specific Objection and the General Objections, which arc herein
incorporated by ret`ei'ence, Loomis will produce responsive documents following the completion
of` any expert report that may be prepared, if an expert is retained, to the extent they exist and are

in Loomis` possession, custody or control.

lamar l(i

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 18 of 19 Page|D# 609

Reguest No. 34:

All documents relating to your claims for damages in this Action.

Obiections to Rgguest No. 34:

Subject to the General Objections, incorporated herein by reference, l_,oomis will
produce responsive documents to the extent they exist and are in its possession, custody or

control.

Respectfully submitted,
Joscph C. lioomis
By Counsel

BRYAN C.AVE LLP

1155 F Street, N.W.
Washington1 l).C, 20004
(202) 508-6000 (phone)
(202) 508-6200 (f`acsimile)
rf` a 'e@brvancave.com
weolsonr'ri)brvancave.com
iennif`er.kies(éi)bryancavc.com

By: °ltitv\§ot/

Rodney F. Page (VSB #12402)
William E. Olson (VSB #47251)
Jcnnif`er M. Kies (VSB #73102)

 

 

 

 

DATED: August 24, 2009

ten )‘)?5,% l7

Case 1:09-cv-00597-L|\/|B-TCB Document 38-6 Filed 10/23/09 Page 19 of 19 Page|D# 610

CERTIFICATE OF SERVICE

l l-IEREBY CERTIFY that a true and correct copy of the foregoing Objections of`

Defendant and Counterclaimant .loseph C. Loomis to Intersections lnc.’s First Request for the

Production of` Document was served via e-mail and U.S. l\/fail on this 24th day of August, 2009_

to:

"i_=,u‘)i`h,i

Ryan C. Berry

Tara Lee

DLA PIPER LLP (US)

1775 Wiehle Avenue, Suite 400
Reston, VA 20190

David Clarl<e

l\/lichelle J. Dickinson
Melissa R. Roth

DLA PIPER LLP (US)
6225 Smith Avenue
Baltimore. l\/laryland 21209

Conrrseljor Plcrintr'_/j@' and (,'ouir!erc[air)r Defendrrms
latersectir)ns, 1110 and Nef Errfr)rcers, Inc.

“l\ldi/l/\t,Or/_a

William E. Olson

 

iii

